         Case 1:25-cv-01935-JMF                Document 29          Filed 03/12/25   Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
MAHMOUD KHALIL,                                                        :
                                                                       :
                                    Petitioner,                        :
                                                                       :         25-CV-1935 (JMF)
                  -v-                                                  :
                                                                       :              ORDER
WILLIAM P. JOYCE et al.,                                               :
                                                                       :
                                    Respondents.                       :
                                                                       :
---------------------------------------------------------------------- X

JESSE M. FURMAN, United States District Judge:

        As stated on the record during the conference held earlier today:

        •    With the consent of both parties, the Court orders that the limitations on remote
             access to electronic files otherwise applicable in this case, see Fed. R. Civ. P. 5.2(c),
             are lifted. Accordingly, the Clerk of Court is directed to lift all viewing restrictions
             on the docket — i.e., to make all prior filings electronically available to the public —
             and to update the docket to conform with the caption of this Order. All future filings
             shall be publicly available unless the Court grants leave to file something under seal
             or in redacted form. Any application to file a document in such a manner shall be
             made in accordance with the Court’s Individual Rules and Practices for Civil Cases,
             available at https://nysd.uscourts.gov/hon-jesse-m-furman.

        •    The Government shall file its Motion to Transfer or Dismiss for Improper Venue by
             11:59 p.m. tonight. Briefing on that motion and Petitioner’s Motion to Compel
             Respondents to Return Petitioner to this District, see ECF No. 11, shall then proceed
             as follows: The parties shall file their oppositions by March 14, 2025, at 11:59 p.m.;
             and the parties shall file their replies by March 17, 2025, at 5:00 p.m.

        •    Petitioner shall file an Amended Petition no later than March 13, 2025, at 9:00 p.m.
             After the Amended Petition is filed, the parties shall confer and then file a joint letter,
             no later than March 14, 2025, at 12:00 p.m., proposing next steps, including an
             expedited schedule for any additional motion practice.

        •    With the consent of the Government, Petitioner shall be granted at least one
             privileged attorney-client call (of at least one hour) today and at least one such call
             (also of at least one hour) tomorrow.

        •    The Government raised no objection to the temporary relief that the Court granted in
      Case 1:25-cv-01935-JMF          Document 29        Filed 03/12/25      Page 2 of 2




         its Notice of Conference entered on March 10, 2025. See ECF No. 9, at 1 (“To
         preserve the Court’s jurisdiction pending a ruling on the petition, Petitioner shall not
         be removed from the United States unless and until the Court orders otherwise.”
         (citing cases)). Accordingly, that order remains in effect.

      SO ORDERED.

Dated: March 12, 2025                              __________________________________
       New York, New York                                   JESSE M. FURMAN
                                                          United States District Judge




                                               2
